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EXHIBIT A

FEE SUMMARY

820734/1/5752.085
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FEE SUMMARY FOR THE PERIOD FROM

SEPTEMBER 1, 2009 THROUGH SEPTEMBER 30, 2009

Name of Professional/ Position, Area of Hourly Total Total
Individual Expertise, Number | Billing Hours Compensation

of Years in Position, Rate Billed

Year of Obtaining

License to Practice
Marilyn Wethekam Partner $ 495.00 29.25 $ 14,478.75
Jennifer Zimmerman Associate 300.00 19.00 5,700.00
Breen Schiller Associate 225.00 14.75 3,318.75
Grand Total 63.00 $ 23,497.50
Blended Rate $ 372.98

820734/1/5752.085

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COMPENSATION BY PROJECT CATEGORY FOR THE PERIOD FROM
SEPTEMBER 1, 2009 THROUGH SEPTEMBER 30, 2009

Matter Description Total Hours Total Fees
California Amended Return 12/00 — 12/01 50 $ 247.50
State of Georgia 13.75 3,562.50
Connecticut — Corp. Tax 18.00 7,830.00
State of Wisconsin TMS TV 13.75 5,002.50
Times Mirror CA 12/97 — 6/99 4.00 1,980.00
California 12/02 — 12/04 2.50 1,237.50
Times Mirror CA — Amended Return 1.00 446.25
State of Wisconsin Tribune Media Services 9.50 3,191.25
Total 63.00 $ 23,497.50

820734/1/5752.085

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EXHIBIT B
EXPENSE SUMMARY

820734/1/5752.085
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EXPENSE SUMMARY FOR THE PERIOD FROM

SEPTEMBER 1, 2009 THROUGH SEPTEMBER 30, 2009

Expense Category Service Provider (if
applicable)

Total Expenses

Total

$0.00

820734/1/5752.085

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EXHIBIT C

FEE AND EXPENSE DETAIL

820734/1/5752.085
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HORWOOD MARCUS & BERK
Chartered
Suite 3700
180 North LaSalle Street
Chicago, Illinois 60601

Taxpayer ID#36~-3302504

Tribune Company
Attn: Mr. Patrick Shanahan

V.P. Taxes INVOICE NO:

435 North Michigan Avenue
Chicago IL 60611

Times Mirror-CA Income Tax Audit 12/97-6/99

09/09/2009 MAW Telephone conference with M. Halleron re: IL
unitary audit for M.B. Parent.

09/20/2009 MAW Review information and determine what additional
information was needed for settlement

conference,

09/21/2009 MAW Telephone conference with M. Halleron re:
additional issues.

09/22/2009 MAW Review audit adjustments and prepare for
conference.

FOR LEGAL SERVICES RENDERED THRU 09/30/2009
FOR CURRENT SERVICES

PREVIOUS BALANCE

09/25/2009 Payment - Thank You ~ Wired
09/25/2009 Payment - Thank You - Wired
09/25/2009 Payment - Thank You ~- Wired

TOTAL PAYMENTS

BALANCE DUE

SUMMARY OF AMOUNTS DUE
0-30 31-60 61-90 91

+

|

990.00 0.00 0.00 0.0

oO

MAW

PLEASE PROVIDE ACCOUNT NUMBER ON YOUR REMITTANCE. IF
YOU HAVE QUESTIONS REGARDING YOUR ACCOUNT PLEASE
CONTACT LYNN MUIR AT LMUIR@HMBLAW.COM OR AT

(312) 606-3217

Page: 1
10/06/2009
ACCOUNT NO: 5752-073M
34

HOURS
0.50 247.50
1.00 495.00
0.50 247.50
2.00 990.00
4.00 1,980.00
1,980.00
$2,006.25
-495.00
~273.75
-247.50
-1,016.25
$2,970.00
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HORWOOD MARCUS & BERK
Chartered
Suite 3700
180 North LaSalle Street
Chicago, Illinois 60601

Taxpayer ID#36~3302504

Page: 1
Tribune Company 10/06/2009
Attn: Mr. Patrick Shanahan ACCOUNT NO: 5752-079M
V.P. Taxes INVOICE NO: 27
435 North Michigan Avenue
Chicago IL 60611
California Amended Return 12/00-12/01
HOURS
09/08/2009 MAW Letter to C. Rogers re: refund to hold payment. 0.50 247.50
FOR LEGAL SERVICES RENDERED THRU 09/30/2009 0.50 247.50
FOR CURRENT SERVICES 247.50
PREVIOUS BALANCE $9,690.00
09/25/2009 Payment - Thank You - Wired -322.50
09/25/2009 Payment - Thank You ~ Wired ~322.50
09/25/2009 Payment - Thank You - Wired -123.75
09/25/2009 Payment - Thank You -~ Wired ~866.25
09/25/2009 Payment - Thank You - Wired ~866.25
TOTAL PAYMENTS ~2,501.25
BALANCE DUE $7,436.25
SUMMARY OF AMOUNTS DUE
0-30 31-60 61-90 91+
2,115.00 0.00 2,351.25 2,722.50
MAW
PLEASE PROVIDE ACCOUNT NUMBER ON YOUR REMITTANCE. IF

YOU HAVE QUESTIONS REGARDING YOUR ACCOUNT PLEASE
CONTACT LYNN MUIR AT LMUIR@HMBLAW.COM OR AT
(312) 606-3217
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HORWOOD MARCUS & BERK
Chartered
Suite 3700
180 North LaSalle Street
Chicago, Illinois 60601

Taxpayer ID#XX-XXXXXXX

Page: 1
Tribune Company 10/06/2009
Attn: Mr. Patrick Shanahan ACCOUNT NO: 5752-082M
V.P. Taxes INVOICE NO: 15
435 North Michigan Avenue
Chicago IL 60611
Times Mirror California-California Amended Return
HOURS
09/03/2009 JJZ Prepare fax correspondence to C. Rogers
enclosing bankruptcy order. 0.25 75.00
09/20/2009 MAW Review Protest and determine what additional
information is needed for settlement conference. 0.75 371.25
FOR LEGAL SERVICES RENDERED THRU 09/30/2009 1.00 446.25
FOR CURRENT SERVICES 446.25
PREVIOUS BALANCE $9,292.50
09/25/2009 Payment - Thank You ~ Wired -6,071.25
09/25/2009 Payment - Thank You ~ Wired -1,608.75
TOTAL PAYMENTS -7,680.00
BALANCE DUE $2,058.75

SUMMARY OF AMOUNTS DUE
0-30 31-60 61-90 91+
0.00 0.00 0.00 1,612.50

MAW

PLEASE PROVIDE ACCOUNT NUMBER ON YOUR REMITTANCE. IF
YOU HAVE QUESTIONS REGARDING YOUR ACCOUNT PLEASE
CONTACT LYNN MUIR AT LMUIR@HMBLAW.COM OR AT

(312) 606-3217
Case 08-13141-BLS Doc 3249-2 Filed 01/27/10

HORWOOD MARCUS & BERK

Chartered

Suite 3700
180 North LaSalle Street
Chicago, Illinois 60601

Taxpayer ID#XX-XXXXXXX

Tribune Company

Attn:
V.P.

Mr.
Taxes

Patrick Shanahan

435 North Michigan Avenue

Chicago

State of Connecticut - Corp.

09/02/2009 MAW

09/04/2009 MAW

03/09/2009 MAW

BMS

09/10/2009 MAW
BMS

09/11/2009 MAW

09/13/2009 MAW

09/14/2009 BMS
MAW

09/24/2009 MAW

09/25/2009
09/25/2009

IL

60611

Inc. Tax 12/03-12/07

Review tax effect schedules and e-mail with
questions.

Outline settlement proposal;
regulations.

Draft settlement letter; Telephone conference
with M. Halleron re: same.

Conference with MAW re: settlement offer and
research re: push-down accounting.

Draft settlement letter; Review statute
documents and regulations; Revise same.
Research re: push-down accounting.

Telephone conference with M. Halleron re:
settlement proceedings; Review CT letter.

Review draft settlement letter; Research debt
issue; Review revised Schedules for cost of
issues.

Memorandum to MAW re: push-down accounting.
Review memo on Push Down Debt and Bona Fide
Debt.

Review e-mail re: CT interest issues; review

information and respond to same.
FOR LEGAL SERVICES RENDERED THRU 09/30/2009

FOR CURRENT SERVICES

PREVIOUS BALANCE

Payment - Thank You - Wired
Payment - Thank You ~ Wired

TOTAL PAYMENTS

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Page:

1

10/06/2009
ACCOUNT NO: 5752-085M

INVOICE NO:

Review statute and

0.50

0.50

495.

866.

1,485.

112.

1,361.
225.

742.

1,485

562.

247.

247,

7

00

25

00

50

25
00

50

-00

50

50

50

.00

7,830.

7,830.

$35,525.

-866.
~6,067.

-6,933.75

00

00

28

25
50
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Page: 2
Tribune Company 10/06/2009
ACCOUNT NO: 5752-085M
INVOICE NO: 7

State of Connecticut - Corp. Inc. Tax 12/03-12/07
BALANCE DUB $36,421.53

Sasa peer eencnamaste

SUMMARY OF AMOUNTS DUE
0-30 31-60 61-90 91+

16,055.28 0.00 1,762.50 10,773.75

MAW

PLEASE PROVIDE ACCOUNT NUMBER ON YOUR REMITTANCE. IF
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CONTACT LYNN MUIR AT LMUIR@HMBLAW.COM OR AT

(312) 606-3217
Case 08-13141-BLS Doc 3249-2 Filed 01/27/10

HORWOOD MARCUS & BERK
Chartered
Suite 3700
180 North LaSalle Street
Chicago, Illinois 60601

Taxpayer ID#XX-XXXXXXX

Tribune Company

Attn: Mr. Patrick Shanahan
V.P. Taxes

435 North Michigan Avenue
Chicago IL 60611

State of California Corp. Income Tax 12/02-12/04

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Page:

1

10/06/2009
ACCOUNT NO: 5752-086M

INVOICE NO:

HOURS

09/03/2009 MAW

09/08/2009 MAW

09/11/2009 MAW
09/14/2009 MAW

09/21/2009 MAW

09/25/2009
09/25/2009

Review settlement letter and send e-mail re:
same.

Review settlement documents and send letter re:
same.

Review settlement documents.
Telephone conference with FTB re: Settlement.

Telephone Conference with M. Halleron re:
Protest; Review and revise same.

FOR LEGAL SERVICES RENDERED THRU 09/30/2009
FOR CURRENT SERVICES

PREVIOUS BALANCE

Payment - Thank You - Wired
Payment - Thank You - Wired

TOTAL PAYMENTS

BALANCE DUE

SUMMARY OF AMOUNTS DUE
0-30 31-60 61-90 91+

0.00 0.00 75.00 3,926.25

MAW

PLEASE PROVIDE ACCOUNT NUMBER ON YOUR REMITTANCE. IF
YOU HAVE QUESTIONS REGARDING YOUR ACCOUNT PLEASE
CONTACT LYNN MOIR AT LMUIR@HMBLAW.COM OR AT

(312) 606-3217

275

225

0.50

123.

371.

371.

123.

247,

7

75

2.50

1,237.
1,237.

$9,652.
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HORWOOD MARCUS & BERK
Chartered
Suite 3700
180 North LaSalle Street
Chicago, Illinois 60601

Taxpayer ID#XX-XXXXXXX

Page: l
Tribune Company 10/06/2009
Attn: Mr. Patrick Shanahan ACCOUNT NO: 5752-087M
V.P. Taxes INVOICE NO: 2
435 North Michigan Avenue
Chicago IL 60611
State of Wisconsin/TMS TV Publishing
HOURS
09/08/2009 JJZ Conference with MAW re: preparation of protest. 0.25 75.00
09/09/2009 JJZ Review workpapers and adjustments to income. 1,25 375.00
09/10/2009 JJZ Conference with MAW re: review of IDR responses
and audit workpapers; Continue to draft protest. 3.00 900.00
MAW Meeting with JJZ re: issues in protest. 1.25 618.75
09/11/2009 MAW Meeting with JJZ re: Wisconsin Protest and
interest and throw-back issues; Review the draft
Protest for TMS. 2.00 990.00
JIJZ Finishing preparing and reviewing draft protest;
Conference with MAW re: revisions to draft
protest. 3.25 975.00
09/14/2009 JJZ Review protest based on MAW's revisions; Prepare
power of attorney; Prepare correspondence to M.
Halleron enclosing protest for review. 0.50 150.00
09/18/2009 JJZ Prepare follow-up correspondence to M. Halleron
re: Wisconsin. 0.25 75.00
09/21/2009 JJZ Review power of attorney and prepare
correspondence to M. Halleron re: said power and
deadline for filing. 0.25 75.00
09/22/2009 JJZ Review correspondence from M. Halleron re;
revisions to protest; Revise protest and prepare
in final; Prepare exhibits. 0.50 150.00
MAW Review changes to WI Protests;Finalize and file;
Telephone conference with M. Halleron re: same;
Meeting with JJZ re: same. 1.25 618.75
FOR LEGAL SERVICES RENDERED THRU 09/30/2009 13.75 5,002.50
FOR CURRENT SERVICES 5,002.50
PREVIOUS BALANCE $1,342.50
BALANCE DUE $6,345.00

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HORWOOD MARCUS & BERK

Chartered

Suite 3700
180 North LaSalle Street
Chicago, Illinois 60601

Taxpayer ID#XX-XXXXXXX

Tribune Company

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Page:

1

10/06/2009

Attn: Mr. Patrick Shanahan ACCOUNT NO: 5752-088M
V.P. Taxes INVOICE NO: 1
435 North Michigan Avenue
Chicago IL 60611
State of Wisconsin/Tribune Media Services
HOURS
09/08/2009 MAW Telephone conference with M. Halleron re:
Protests. 25 123.75
09/09/2009 JJZ Review workpapers and continue to prepare
protest. .25 375.00
09/10/2009 JJZ Conference with MAW re: review of IDR responses
and audit workpapers; Finish preparing draft
protest. 75 825.00
09/11/2009 MAW Review draft Protest and revise same. .50 742.50
JJZ Finish preparing and reviewing draft protest;
Conference with MAW re: revisions to protest;
Revise protest. .00 300.00
09/14/2009 JJZ Prepare power of attorney and correspondence to
M. Halleron enclosing protest for review. 25 75.00
09/21/2009 JJZ Revise protest based on comments from M.
Halleron; Revise power; Prepare correspondence
to M. Halleron enclosing revised protest and
power and deadline for filing. .00 600.00
09/22/2009 JJZ Review correspondence from M. Halleron re:
revisions to protest; Revise protest and prepare
protest in final; Prepare exhibits. ss 0.50 150.00
FOR LEGAL SERVICES RENDERED THRU 09/30/2009 9.50 3,191.25
FOR CURRENT SERVICES 3,191.25
BALANCE DUE $3,191.25

MAW

PLEASE PROVIDE ACCOUNT NUMBER ON YOUR REMITTANCE. IF
YOU HAVE QUESTIONS REGARDING YOUR ACCOUNT PLEASE
CONTACT LYNN MUIR AT LMUIR@HMBLAW.COM OR AT

(312) 606-3217
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HORWOOD MARCUS & BERK

Chartered

Suite 3700
180 North LaSalle Street
Chicago, Illinois 60601

Taxpayer ID#XX-XXXXXXX

Page: 1
Tribune Company 10/06/2009
Attn: Mr. Patrick Shanahan ACCOUNT NO: 5752-089M
V.P. Taxes INVOICE NO: 1
435 North Michigan Avenue
Chicago IL 60611
State of Georgia/Corporate Income Tax
Tax Years 2005-2007
HOURS
09/08/2009 MAW Review notices of assessment; Meeting with BMS
re: same. 1.25 618.75
BMS Review notice of deficiencies received from GA;
Research re: and review of GA protest
procedures; Conference with MAW. 1.50 337.50
09/09/2009 BMS Conference with MAW re: bankruptcy provision on
the Notice of Deficiency. 0.25 56.25
09/10/2009 BMS Review of GA statutes and regulations re:
whether bankruptcy stays or affects protests of
notice of deficiencies call to GA Department of
Revenue to confirm. 2.00 450.00
09/15/2009 BMS Telephone conference with GA Corporate Income
Tax Division supervisor re: bank language on
notice of deficiency; Conference with MAW re:
protests. 0.75 168.75
09/18/2009 BMS Conference with MAW re: file from M. Halleron. 0.25 56.25
09/21/2009 BMS Conference with MAW re: documents; Review of
notices for separate entities; Began preparation
of powers of attorney. 0.25 56.25
09/24/2009 BMS Draft power of attorney for Tribune Media
Services, 0.25 56.25
09/28/2009 BMS Draft correspondence to M. Halleron re: GA file;
Review of correspondence received from client. 0.25 56.25
09/29/2009 BMS Draft powers of attorney; Telephone conference
with M. Halleron re: audit and file. 1.00 225.00
09/30/2009 JJZ Review assessments and audit workpapers;
Conference with BMS re: said review;
Teleconference with BMS and M. Halleron re:
review of all assessments. 1.75 525.00

BMS

Review GA assessments and IDRs received from
Client; Research re: and Review of GA law re:
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Tribune Company

Page: 2
10/06/2009

ACCOUNT NO: 5752-089M
INVOICE NO: 1

State of Georgia/Corporate Income Tax
Tax Years 2005-2007

shifting of income and addback statute and
regulation; Conference with JJZ re: assessments;
Telephone conference with JJZ and M. Halleron
re: audit file.

FOR LEGAL SERVICES RENDERED THRU 09/30/2009

FOR CURRENT SERVICES

BALANCE DUE

MAW

PLEASE PROVIDE ACCOUNT NUMBER ON YOUR REMITTANCE.
YOU HAVE QUESTIONS REGARDING YOUR ACCOUNT PLEASE
CONTACT LYNN MUIR AT LMUIRGHMBLAW.COM OR AT

(312) 606-3217

IF

HOURS

4.25 956.25

13.75 3,562.50

3,562.50

$3,562.50
